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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                     Case No. 3:19-md-2885-MCR-HTC
EARPLUG PRODUCTS
LIABILITY LITIGATION                      Judge M. Casey Rodgers
                                          Magistrate Judge Hope T. Cannon
This Document Relates to All Cases


          JOINT STATEMENT REGARDING THE RELEASE OF
              ADDITIONAL MATERIALS RELATING TO
               HAMERY AND DANCER’S DEPOSITIONS

      On January 27, 2023, the Court granted the undersigned parties’ Joint Motion

and Stipulation Regarding Release of Materials Relating to Hamery and Dancer’s

Depositions. See ECF No. 3650. Thereafter, the Court transmitted electronic copies

of the materials it had received from the French authorities (relating to Hamery and

Dancer’s depositions) to the parties. See ECF No. 3737. The Court has now received

a new, additional set of related materials from the French authorities, and the

undersigned parties agree that the materials can be transmitted to them in the same

manner as before.
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DATED: May 18, 2023                        Respectfully submitted,

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                          CERTIFICATE OF SERVICE
      The undersigned hereby certifies that on May 18, 2023, a true and correct copy

of the foregoing was electronically filed via the Court’s CM/ECF system, which will

serve all counsel of record.

Dated: May 18, 2023                          Respectfully submitted,

                                             /s/ Kimberly Branscome
                                             Kimberly Branscome
                                             Counsel for Defendant 3M Company




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